Case 8:17-cv-01469-EAK-AEP Document 24 Filed 04/19/18 Page 1 of 1 PageID 166




                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION

CATHERINE M. CARLSON,

  Plaintiff,                                                Case No. 8:17-cv-1469-T-17AEP
v.

SYNCHRONY BANK,

  Defendant.
  __________________________________________/

                             PLAINTIFF’S NOTICE OF DISMISSAL

          Plaintiff, Catherine M. Carlson, hereby dismisses the above-captioned action with

     prejudice, each party to bear their own attorneys’ fees and costs.



                                    CERTIFICATE OF SERVICE

          I hereby certify that on April 18, 2018, I electronically filed the foregoing with the

     Clerk of Court by using the CM/ECF system.

                                                  Respectfully submitted,

                                                  /s/ Jon Dubbeld____________________
                                                  Jon P. Dubbeld, Esq.
                                                  Fla. Bar No. 105869
                                                  Berkowitz & Myer
                                                  4900 Central Ave
                                                  St. Petersburg, Florida 33707
                                                  Telephone: (727) 344-0123
                                                  Jon@berkmyer.com
                                                  Attorneys for Plaintiff




                                                        1
